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                            No. 22-13669
_________________________________________________________________

            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
     _______________________________________________________
                     MARIA EUGENIA BLANCO,
                            Plaintiff-Appellant,
                                     v.
                         ANAND ADRIAN SAMUEL,
                         LINDSEY ADAMS FINCH,
                       Defendants-Appellees.
     _______________________________________________________

             On Appeal from the United States District Court
                   for the Southern District of Florida
     _______________________________________________________

          THE SECRETARY OF LABOR’S UNOPPOSED MOTION
                TO PARTICIPATE IN ORAL ARGUMENT
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       CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                    DISCLOSURE STATEMENT

      Pursuant to 11th Cir. R. 26.1-1, counsel for the Acting Secretary of Labor

certifies that she believes Appellant’s Certificate of Interested Persons and

Corporate Disclosure Statement filed with this Court on March 14, 2023 is

complete.

Date: July 10, 2023

                                      /s/ Katelyn J. Poe
                                      KATELYN J. POE
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                            No. 22-13669
_________________________________________________________________

              IN THE UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT
       _______________________________________________________
                          MARIA EUGENIA BLANCO,
                                Plaintiff-Appellant,
                                         v.
                           ANAND ADRIAN SAMUEL,
                           LINDSEY ADAMS FINCH,
                         Defendants-Appellees.
       _______________________________________________________

               On Appeal from the United States District Court
                     for the Southern District of Florida
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            THE SECRETARY OF LABOR’S UNOPPOSED MOTION
                  TO PARTICIPATE IN ORAL ARGUMENT

      Pursuant to Federal Rules of Appellate Procedure 29(a)(8), the Acting

Secretary of Labor (“Secretary”) requests permission from this Court to participate

in oral argument in this case. The grounds for this motion are as follows:

      1. This appeal involves important issues concerning the proper

interpretation of the live-in domestic service employee exemption from

overtime pay under the Fair Labor Standards Act (“FLSA” or “the Act”), 29

U.S.C. 201 et seq., at section 13(b)(21) of the Act, 29 U.S.C. 213(b)(21), and
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the proper interpretation of “employer” at section 3(d) of the Act, 29 U.S.C.

203(d).

      2. The Secretary administers and enforces the FLSA. 29 U.S.C. 202(a),

204, 211(a), 216(c), 217.

      3. On February 1, 2023, the Secretary filed a brief as amicus curiae in

support of Plaintiff-Appellant with this Court, setting forth the Secretary’s

position that the district court erred in concluding that Plaintiff was exempt

from the FLSA’s overtime pay requirements under the live-in domestic service

employee exemption because Plaintiff did not reside in Defendants-Appellees’

home within the meaning of the exemption. The Secretary’s brief also set

forth her position that the district court erred in concluding that Plaintiff failed

to demonstrate that Defendants were Plaintiff’s employers.

      4. The Secretary believes that her participation in this oral argument

will assist this Court because she administers and enforces the FLSA, and such

experience provides her unique knowledge of and expertise with the statutory

and regulatory principles at issue, including the proper interpretation of the

live-in domestic service employee exemption at section 13(b)(21), 29 U.S.C.

213(b)(21), and the Department’s regulations at 29 C.F.R. 552.102, governing

live-in domestic service employees, and 29 C.F.R. 785.23, which concerns

employees who reside on their employer’s premises. The district court’s



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decision here ignored the plain language of the statute and misconstrued these

regulations and the Department’s guidance interpreting them to conclude, in

error, that Plaintiff was a live-in domestic service employee. The second issue

in this case is whether Defendants were Plaintiff’s employers under the FLSA.

The district court’s decision that Plaintiff failed to demonstrate that Defendants

were her employers is contrary to the Act and, if affirmed, could create a

significant loophole to deny FLSA protections to vulnerable workers.

      5. Counsel for the Appellant has consented to cede a portion of his allotted

argument time to the Secretary. Therefore, permitting the Secretary to participate

in oral argument will not increase the time designated by this Court to hear

argument of this appeal.

      6. Per this Court’s rules, Counsel for the Secretary has conferred with

counsel for the Plaintiff and counsel for the Defendants. Neither counsel opposes

the Secretary’s motion.




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      For the foregoing reasons, the Secretary respectfully requests this Court’s

permission to participate in oral argument.

                                       Respectfully submitted,

                                       SEEMA NANDA
                                       Solicitor of Labor

                                       JENNIFER S. BRAND
                                       Associate Solicitor

                                       RACHEL GOLDBERG
                                       Counsel for Appellate Litigation

                                       MELISSA ANN MURPHY
                                       Senior Attorney


                                       /s/Katelyn J. Poe
                                       KATELYN J. POE
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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g), I certify that the

foregoing Secretary of Labor’s Unopposed Motion to Participate in Oral Argument

      (1) was prepared in a proportionally spaced typeface using Microsoft Word

in 14-point Times New Roman font; and

      (2) complies with the type-volume limitation of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 449 words.



                                     /s/ KATELYN J. POE
                                     KATELYN J. POE
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                            CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing Secretary of Labor’s

Unopposed Motion to Participate in Oral Argument was served this 10th day of

July 2023, via the Court’s ECF system on each attorney who has appeared in this

case and is registered for electronic filing.



                                       /s/ Katelyn J. Poe
                                       KATELYN J. POE
